    Case 1:21-cr-00046-H-BU Document 27 Filed 12/02/21             Page 1 of 1 PageID 48



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 ABILENE DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                            NO. 1:21-CR-046-01-H

RUBEN LEE TREVINO,
     Defendant.


                  ORDER ACCEPTING RIPORT AND RECOMMENDATION
                     OF TIIE UNITED STATES MAGISTRATE JUDGE
                            CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Concerning Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been flled within fourteen (14) days of service in accordance with 28 U.S.C.

$   636OX1), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.
                           .L
         Dated December         202t.



                                            JAMES    SL Y   NDRIX
                                            UNITED STATES DISTRICT JUDGE
